                            UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION

                                  DOCKET NO. 3:11cr373-FDW

UNITED STATES OF AMERICA.                        )
                                                 )     FIRST FINAL ORDER AND JUDGMENT
       v.                                        )        CONFIRMING FORFEITURE
                                                 )
(3) KAMAL ZAKI QAZAH,                            )


       On June 11, 2013, this Court entered a Preliminary Order of Forfeiture pursuant to 21

U.S.C. § 853 and Fed. R. Crim. P. 32(d)(2), based upon the Defendant’s conviction at trial by the

jury on Counts One and Seven in the Bill of Indictment and evidence already on record; and was

adjudged guilty of the offenses charged in those counts.

               Direct notice was served on potential claimants known to the government. Two

third-party petitions have been filed, one by Ashraf Quzah (Doc. 370) and one by Wael Salem

(Doc. 372). Neither petitioner alleges an interest in the seized currency which is the subject of

this motion.

       On August 2, 2013 through August 31 2013, the United States published via

www.forfeiture.gov, notice of this forfeiture and of the intent of the government to dispose of the

forfeited property according to law, and further notifying all third parties of their right to petition

the Court within sixty days from August 2, 2013 for a hearing to adjudicate the validity of any

alleged legal interest in the property.    It appears from the record that no such petitions have

been filed. Based on the record in this case, including the defendant’s conviction, the Court

finds, in accordance with Rule 32.2(c)(2), that the Defendant had an interest in the property that

is forfeitable under the applicable statute.

       It is therefore ORDERED:




    Case 3:11-cr-00373-FDW-SCR                 Document 399      Filed 11/08/13      Page 1 of 2
       In accordance with Rule 32.2(c)(2), the Preliminary Order of Forfeiture is confirmed as

final. All right, title, and interest in the following property, whether real, personal, or mixed, has

therefore been forfeited to the United States for disposition according to law:

       $1,299,990.00 in U.S. currency seized from 21 Farrier Court, Columbia, S.C.

                                                Signed: November 8, 2013




                                                  2


   Case 3:11-cr-00373-FDW-SCR              Document 399           Filed 11/08/13    Page 2 of 2
